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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
EL PASO DIVISION

EL PASO COUNTY, TEXAS and
BORDER NETWORK FOR HUMAN
RIGHTS,

Plaintiffs,

Vv. EP-19-CV-66-DB
DONALD J. TRUMP, in his official
capacity as President of the United States
of America, et al.,

Defendants.

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ORDER

 

On this day, the Court sua sponte considered Plaintifis E] Paso County, Texas and
Border Network for Human Rights’ “Unopposed Motion for Oral Argument and Expeditious
Ruling” (“Motion”), filed on August 17,2019. On August 19, 2019, the Court granted the
Motion and ordered that parties shall appear before this Court for oral argument on August 29,
2019, at 10:30 a.m. After due consideration, the Court is of the opinion that the following
orders shall enter.

IT IS HEREBY ORDERED that Plaintiffs El Paso County, Texas and Border
Network for Human Rights have ONE HOUR total for oral argument.

IT IS FURTHER ORDERED that Defendants Donald J. Trump, Patrick M.
Shanahan, Kirstjen M. Nielsen, David Bernhardt, Steven T. Mnuchin, William Barr, John F.
Bash, and Todd T. Semonite have ONE HOUR total for oral argument.

IT IS FURTHER ORDERED that each Plaintiff and each Defendant may

DIVIDE the hour as they see fit.
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IT IS FINALLY ORDERED that Plaintiffs and Defendants address the issue of
STANDING at the beginning of their hour for oral argument.

SIGNED this 8th day of July 2019.

  
   

THRE HONORABLE DAVID BRIONES
SENIOR UNITED STATES DISTRICT JUDGE
